Case 1:11-cv-00773-SLR-CJB Document 167 Filed 10/29/13 Page 1 of 1 PageID #: 3806


AO 120 (Rev 08/J 0)

                              Mail Stop 8                                                     REPORT ON THE
TO:                                                                                   FILING OR DETERMINATION OF AN
          Director of the U.S. Patent and Trademark Office
                            P.O. Box 1450                                             ACTION REGARDING A PATENTOR
                     Alexandria, VA 22313-1450                                                  TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                         District of Delaware                                 on the following
       D Trademarks or         [iJPatents.   ( D the patent action involves 35 U.S.C. § 292.):

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        3              Sl..0 -   L~~E FILED
                                         9/212011
                                                                   U.S. DISTRICT COURT
                                                                                                 District of Delaware
PLAINTIFF                                                                  DEFENDANT
    E.l. DU PONT DE NEMOURS AND COMPANY                                      HERAEUS HOLDING GMBH, and HERAEUS
                                                                             MATERIALS TECHNOLOGY, LLC



        PATENTOR                       DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7' 767,254 82                              8/3/2010                E. I. DUPONT DE NEMOURS AND COMPANY

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                                 In the above--entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   D Amendment                 D Answer           D Cross Bill            D Other Pleading
        PATENTOR                       DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above--entitled case, the following decision has been rendered or judgement issued;
DECISION/JUDGEMENT


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Copy 1-Upon initiation of action, mail this copy to Director Copy 3-Upon termination of action, mail this copy to Director
Copy 2-Upon filing document adding patent(s), mail this copy to Director Copy 4--Case file copy
